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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                       Chapter 11

    FTX TRADING LTD., 1                                          Case No. 22-11068 (JTD)

                             Debtor.                             (Jointly Administered)

                                                                 Re: Dkt. No. 1192



           STATEMENT OF THE AD HOC GROUP OF CUSTOMERS
     IN PARTIAL SUPPORT OF THE MOTION OF THE JOINT PROVISIONAL
  LIQUIDATORS FOR A DETERMINATION THAT THE DEBTORS’ AUTOMATIC
STAY DOES NOT APPLY TO, OR IN THE ALTERNATIVE, FOR RELIEF FROM THE
  STAY FOR FILING OF, THE APPLICATION IN THE SUPREME COURT OF THE
       COMMONWEALTH OF THE BAHAMAS SEEKING RESOLUTION OF
                    NON-U.S. LAW AND OTHER ISSUES

             The Ad Hoc Group of Customers of FTX Trading Ltd. and its affiliated debtors and

debtors-in-possession (the “Ad Hoc Group”), by and through its attorneys, Venable LLP,

respectfully submits this Statement (the “Statement”) in partial support of the Motion of the Joint

Provisional Liquidators For a Determination that the U.S. Debtors’ Automatic Stay Does Not

Apply to, or In the Alternative, For Relief From Stay for Filing of, the Application in the

Supreme Court of the Commonwealth of the Bahamas Seeking Resolution of Non-U.S. Law and

Other Issues [Dkt. No. 1192] (the “Motion”) 2 and respectfully states as follows:




1
  The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of debtor
entities in these Chapter 11 Cases, a complete list of the debtors (the “U.S. Debtors”) and the last four digits of their
federal tax identification numbers is not provided here. A complete list of such information may be obtained on the
website of the U.S. Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.
2
  Capitalized terms not otherwise defined herein shall have the same meaning herein as is ascribed to such terms in
the Motion.
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                                        BACKGROUND

The Chapter 11 and Chapter 15 Cases

       1.      On November 11 and November 14, 2022 (as applicable, the “Petition Date”),

FTX Trading Ltd. (“FTX Trading”) and its affiliated debtors and debtors-in-possession

(collectively, with FTX Trading, the “Debtors”) filed with the Court voluntary petitions for relief

under the Bankruptcy Code. The Debtors continue to operate their businesses and manage their

properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. Joint administration of the Debtors’ cases (the “Chapter 11 Cases”) was authorized by the

Court by entry of an order on November 22, 2022 [Dkt. No. 128]. On December 15, 2022, the

Office of the United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an

Official Committee of Unsecured Creditors (the “Committee”) pursuant to section 1102 of the

Bankruptcy Code [Dkt. No. 231].

       2.      Prior to the filing of the U.S. Debtor’s chapter 11 petitions, the Securities

Commission of The Bahamas (the “SCB”) suspended the registration of FTX Trading Digital

Ltd. (the “FTX Digital”), and on November 10, 2022, FTX Digital became a debtor in

provisional liquidation (the “Provisional Liquidation Proceedings”) in the Supreme Court of the

Commonwealth of the Bahamas (the “Bahamas Court”).

       3.      On November 15, 2022, Brian C. Simms KC, Kevin G. Cambridge, and Peter

Greaves (collectively, the “JPLs”), in their capacity as the joint provisional liquidators of FTX

Digital, filed a petition on behalf of FTX Digital for recognition of a foreign proceeding under

chapter 15 of the Bankruptcy Code, commencing this Chapter 15 Case. By order, dated

February 15, 2023, this Court recognized FTX Digital’s Provisional Liquidation Proceedings as




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the “foreign main proceeding” and the JPLs as the “foreign representatives” of the FTX Digital

estate in the United States. [Case No. 22-11217, Dkt. No. 129].

The JPLs’ Motion

        4.       On March 29, 2023, the JPLs filed the Motion, apparently in response to an

adversary proceeding commenced by the Debtors 3 and the Debtors’ refusal to permit them to

invoke the jurisdiction of the Bahamas Court to obtain directions as to the Non-U.S. Law

Customer Issues. The JPLs define the Non-U.S. Law Customer Issues to include those issues

that relate “to the identification and protection of FTX Digital’s accountholders, customers, and

creditors” and specifically “(i) to identify which persons or entities were or are FTX Digital’s

accountholders, customers, and creditors, (ii) to determine the legal relationship between FTX

Digital and those who are identified as such, and (iii) to recover assets for all FTX Digital’s

stakeholders to be distributed in accordance with Bahamian law and procedure.” Motion ¶ 2.

        5.       The JPLs argue that resolving the Non-U.S. Law Customer Issues turn on key

questions of the laws of the Bahamas, Antigua & Barbuda (“Antigua”) and England (the “UK”)

(collectively, the “Foreign Laws”), not U.S. law, and that the JPLs must file a directions

Application in order to provide the Bahamas Court with the procedural predicate to review and

determine the Non-U.S. Law Customer Issues. The JPLs further claim that the Application is

neither an action against the Debtors, nor does it seek to obtain possession of property or

exercise control over the Debtors’ property, as it simply requests the Bahamas Court to make

determinations but take no action based on those determinations. As such, they argue that the

automatic stay under Section 362(a) does not apply to the filing by the JPLs of the Application.


3
 See Alameda Research LLC et al. v. FTX Digital Markets Ltd., Brian C. Simms, Kevin G. Cambridge, and Peter
Greaves, and J. Does 1-20, Case No. 23-50145 (JTD) [Dkt. No. 1] (the “FTX Complaint”). On May 8, 2023, the
JPLs filed a Motion to Dismiss the Complaint or, in the Alternative, to Abstain From Ruling on Counts I-IV [Dkt.
No. 6] (the JPL “Motion to Dismiss”)

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           6.       In the alternative, the JPLs request that this Court lift the automatic stay pursuant

to Section 362(d)(1), because (i) resolving the Foreign Law customer questions in the Bahamas

Court, which is the court best-positioned to resolve them, will not prejudice the Debtors (who

have already consented to the jurisdiction of the Bahamas Court, been recognized by the

Bahamas Court, and have and may continue to participate in the Provisional Liquidation

Proceedings), (ii) the hardship to FTX Digital of not being able to file and prosecute the

Application far outweighs any hardship to the Debtors, as FTX Digital’s return date for its

winding up petition is August 10, 2023 4 and it cannot proceed with its Provisional Liquidation

Proceedings until the Non-U.S. Law Customer Issues, which are fundamental to the proceedings,

are resolved, and (iii) the JPLs claim that certain customers migrated to the Bahamas is clearly

not a “frivolous claim.” Accordingly, “cause” has been shown under Section 362(d)(1), and the

merits weigh in favor of lifting the stay.

Ad Hoc Group Strongly Supports Establishment of a Two-Court Protocol

           7.       The Ad Hoc Group agrees with the JPLs that adequate cause exists under Section

362(d)(1) to lift the stay and let the Bahamas Court decide the Non-U.S. Law Customer Issues.

Given the Bahamas Court’s relative expertise in Antiguan and/or U.K. law, it seems an

enormous waste of the estates’ resources and this Court’s time to become as knowledgeable on

these non-U.S. law issues as is the Bahamas Court, at least before the Bahamas Court has an

opportunity to review the relevant facts and applicable law . While the Debtors would very

much like to control both these Chapter 11 Cases and the Provisional Liquidation Proceedings,

they must accept the fact that two sets of insolvency cases must be able to proceed

simultaneously in as expeditious a manner as possible. Perhaps one solution is for the Bahamas



4
    Which date is approximately one year before the Debtors’ “initial forecast” for confirmation of a chapter 11 plan.

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Court to use its expertise to make findings of fact and conclusions of law that would be deemed

by this Court similar to a magistrate’s recommendations.

        8.      In any event, it is clear that there must be a Protocol established in these cases

between the Bahamas Court and the Bankruptcy Court so that future disputes among the parties

as to jurisdiction, process and legal authority in both the Chapter 11 and Chapter 15 stays can be

avoided. Simply punting these issues down the road as the parties did in the Cooperation

Agreement by reserving all rights and essentially agreeing not to agree is no longer productive or

cost-efficient. See Cooperation Agreement, § 12 (“recognition under Chapter 15 would not

require the U.S. Bankruptcy Court to defer to the decisions of any foreign court . . .”) and § 13

(“recognition in the Bahamas Court would not require the Bahamas Court to defer to the

decisions of any foreign court . . .”). Moreover, as the JPLs point out in their Motion to Dismiss,

the Cooperation Agreement mandates, among other things, that the Debtors and the JPLs must

“‘work together in good faith to determine ownership of assets that are subject to competing

claims.’” Motion to Dismiss ¶ 13. A two-court Protocol would clearly further the spirit of that

provision and the purpose of of the Cooperation Agreement.

        9.      These Chapter 11 Cases are atypical cases to be sure. They appear to involve

millions of accounts of non-U.S. customers whose relationship with multiple debtors may be

governed by Terms of Service that are not subject to U.S. law, 5 or they may be subject to

rescission or other remedies under non-U.S. common law based on the massive fraud already

admitted by three key former insiders. There are significant legal and factual issues that must be

determined before a chapter 11 plan can be proposed, such as whether the books of the various

Debtor and Debtor-related entities can be reconstructed to accurately reflect the rights and


5
  The 2019 Terms of Service are governed by Antiguan law and the 2022 Terms of Service are governed by U.K.
law.

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liabilities of each Debtor, whether customer deposits can be traced from among the commingled

assets (that the Debtors now appear to possess and control), or whether, based on applicable law,

tracing is even necessary, and whether a trust should be imposed on customer deposits or

commingled assets now in the possession of the Debtors and/or FTX Digital that would render

customers, not the Debtors or the JPLs, the true owners of those assets. 6 If customer deposits

(whether commingled or not) are subject to a trust, for example, then the plan process (including

exclusivity) should not be used by the Debtors to hold customers and their property hostage, as

the plan may not even be applicable to customers.

         10.      While the Debtors claim (and have sought, in part, in the Complaint) that it is

more efficient to have these issues adjudicated in this Court, they ignore the fact that the

Bahamas Court clearly has greater expertise in interpreting and applying Antiguan and U.K. law

than does this Court, so that at least some of these issues should more properly be decided by the

Bahamas Court. Moreover, regardless of which court decides the Non-U.S. Law Customer

Issues and future issues that will arise, at least one set of professionals (the Debtors’ or the

JPL’s) is going to have to participate in a court that is not their “home court.” 7 This time, it

makes more sense to have the Non-U.S. Law Customer issues decided by the Bahamas Court,

but other issues may clearly require this Court’s determination.




6
  Though the Debtors suggest that custody of the deposits gives them the power to decide the fate of those assets, in
fact, custody does not equate with title, and the Debtors may have no greater legal interest in customer deposits than
do the JPLs. 11 U.S.C. § 541(d) (“Property in which the debtor holds, as of commencement of the case, only legal
title and not an equitable interest . . . becomes property of the estate under subsections (a)(1) or (2) of this section
only to the extent of the debtor’s legal title to such property, but not to the extent of any equitable interest in such
property. . .”).
7
  Indeed, though the Debtors have filed an adversary proceeding against the FTX Digital and the JPLs in this Court
concerning, among other things, the Terms of Service, given that the 2022 Terms of Service requires disputes to be
arbitrated (and not by class action) and international customers of both FTX Digital are necessary parties to the
proceeding, it is unclear whether the action filed by the Debtors against FTX Digital and the JPLs can even proceed.
See Motion to Dismiss ¶¶ 33-35.

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         11.      Despite the Cooperation Agreement, the Debtors and the JPLs do not seem to be

“playing nicely in the sandbox,” and the customers and creditors of the Debtors are paying the

price both in wasted effort and estate legal fees. There can be no serious objection to creating a

two-court Protocol between this Court and the Bahamas Court so that issues regarding

jurisdiction and process do not further hold up both sets of cases. As the JPLs point out, such

protocols are regularly approved in cross-border cases, and some prior protocols have included

provisions permitting both courts to hear and concurrently adjudicate key issues in the cases.

The fact that the Debtors do not like that FTX Digital became subject to provisional liquidation

proceedings in the Bahamas before these Chapter 11 Cases were commenced is no reason for

refusing to create solutions to address the cross-border nature of these proceedings. Other

questions regarding the nature, ownership, and control of customer deposits, interpretation of the

various Terms of Service, substantive consolidation of the Debtors (and perhaps non-Debtor)

entities, and competing claims to assets, to name a few, are going to arise before these cases are

completed, and the estates should not be forced to go to battle each time either the Debtors or the

JPLs assert their fiduciary duties. 8

         12.      The Ad Hoc Group strongly suggests that a cross border protocol be established

so that these jurisdictional disputes no longer disrupt both proceedings. A two-court protocol

will enable the parties to work together, benefitting all creditors of all the estates and assisting

the two courts in their efforts to resolve the cases before them.



8
  The Debtors not so veiled allegation in their Complaint against FTX Digital and the JPLs that the Bahamas
government was in cahoots with Sam Bankman-Fried and is, therefore, an untrustworthy forum to address FTX-
related issues, is shockingly inappropriate and is the type of “battling” this Court should not countenance. See,
Complaint ¶ 24. Equally concerning is the apparent willingness of the Debtors to violate this Court’s recognition
order in the FTX Digital chapter 15 case and a key standing doctrine in the United States that requires leave of the
court to sue a fiduciary appointed by such court. See Barton v. Barbour, 104 U.S. 126 (1881); In re VistaCare Grp.,
LLC, 678 F.3d 218, 232 (3d Cir. 2012); In re Summit Metals, Inc. 477 B.R. 484 (Bankr. D. Del. 2012).

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         WHEREFORE, the Ad Hoc Group respectfully requests that this Court (i) grant the JPLs

relief from the automatic stay so that the JPLs can file the Application with the Bahamas Court,

(ii) establish, pursuant to section 105(a) of the Bankruptcy Code, a cross-border Protocol to

apply to this Court and the Bahamas Court for resolution of cross-border disputes in these

Chapter 11 Cases, and (ii) grant such other and further relief as is just and proper.

Dated:    May 10, 2023
          Wilmington, Delaware
                                                      VENABLE LLP

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